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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE,                                 No.: 1:14-cv-000958-RMC

                  Plaintiff,

       vs.                                              FEDERAL DEFENDANTS’ CONSENT
                                                        MOTION FOR EXTENSION OF TIME

NATIONAL INDIAN GAMING
COMMISSION, et al.,

                  Defendants.




       Federal Defendants respectfully request that this Court grant an extension of time to file their

response to Plaintiffs’ motion for summary judgment (ECF No. 115) and the other related briefing

deadlines. Plaintiffs’ counsel has consented to the requested extension. The grounds for the request

are as follows:

1.     Under the current schedule, Federal Defendants’ response to Plaintiffs’ Motion for Summary

Judgment is due June 19, 2019. Undersigned counsel has been assigned to assist with pre-trial

preparations in a case that unexpectedly set for trial later this summer, which has delayed Federal

Defendants’ ability to draft the response and prepare it for filing.

2.     Accordingly, Federal Defendants request that the briefing schedule set out in the Court’s May

20, 2019 Minute Order be modified as follows:



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        Federal Defendants’ Response to Plaintiffs’ Motion for Summary Judgment and Cross-
        Motion for Summary Judgment shall be filed on or before July 19, 2019;

        Plaintiffs’ Response to Federal Defendants’ Cross-Motion and Reply in Support of Plaintiff’s
        Motion for Summary Judgment shall be filed on or before September 6, 2019;

        Federal Defendants’ Reply in Support of its Cross-Motion shall be filed on or before
        September 20, 2019.

3.      The extension will not prejudice either Plaintiff or the Federal Defendants.

A Proposed Order is attached.



Respectfully submitted
                                              JEAN E. WILLIAMS
                                              Deputy Assistant Attorney General

BY:                                           /s/Brian Collins
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of June, 2019, the foregoing Consent Motion For

Extension of Time was filed with the Court’s CM/ECF system, which will send notification to

counsel of record in this matter who are registered with the Court’s CM/ECF system.



                                             /s/ Brian Collins

                                            Brian Collins




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